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                                            1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800




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               A PROFESSIONAL CORPORATION




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